Case 2:16-cv-00450-JRG Document 141 Filed 01/20/17 Page 1 of 2 PageID #: 1085



                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §           Case No: 2:16-cv-00450-RWS
                                    §
      vs.                           §           LEAD CASE
                                    §
CITIBANK NA                         §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §           Case No: 2:16-cv-00600-RWS
                                    §
      vs.                           §           CONSOLIDATED CASE
                                    §
NETGEAR, INC.                       §
                                    §
      Defendant.                    §
___________________________________ §

            UNOPPOSED MOTION TO AMEND ORDER DISMISSING CASE
                     TO A DISMISSAL WITH PREJUDICE

       The Court issued its Order Dismissing Case without prejudice (“Order”) on November

30, 2016.   Plaintiff Symbology Innovations, LLC hereby moves to amend the Order to a

dismissal with prejudice.
Case 2:16-cv-00450-JRG Document 141 Filed 01/20/17 Page 2 of 2 PageID #: 1086




Dated: January 20, 2017                      Respectfully submitted,


                                             /s/ Jay Johnson
                                             JAY JOHNSON
                                             State Bar No. 24067322
                                             BRAD KIZZIA
                                             State Bar No. 11547550
                                             KIZZIA JOHNSON PLLC
                                             1910 Pacific Ave., Suite 13000
                                             Dallas, TX 75201
                                             (214) 451-0164
                                             Fax: (214) 451-0165
                                             jay@kjpllc.com
                                             bkizzia@kjpllc.com

                                             ATTORNEYS FOR PLAINTIFF


                             CERTIFICATE OF CONFERENCE

The undersigned counsel for Plaintiff hereby certifies that on January 20, 2017 he met and
conferred with counsel for Defendant regarding this motion and that Defendant’s counsel agreed
to the motion.

                                             /s/ Jay Johnson
                                             Jay Johnson

                                CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of this document has been served on all counsel of
record via electronic mail through Local Rule CV-5(a) on January 20, 2017.

                                             /s/ Jay Johnson
                                             Jay Johnson
